                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLORADO


_______________________________
Matthew Buck,                                       Civil Action: No 18-cv-02427
Plaintiff,
v.
BORA SONG,
And
HYE SONG
Defendants.
______________________________




                Plaintiff’s Response to Defendants’ Motions to Redact



                                         1
       Plaintiff does not oppose Defendants’ request that certain personal information,

such as Defendants’ billing account numbers, be redacted. However, Plaintiff disagrees

that the scope or grounds for such request are appropriate.

       Under Federal Rule of Civil Procedure 5.2, redaction is appropriate for social-

security numbers or taxpayer-identification numbers, the year of an individual’s birth, a

minor’s name, and financial-account numbers. Fed. R. Civ. P. 5.2(a). Additionally, the

Court’s practice standards indicate that restriction of public access to residential

addresses may be appropriate.

       As an initial matter, Plaintiff has not disclosed any information which is prohibited

from disclosure under Rule 5.2 and has included only information which is relevant to

Plaintiff’s claims and in establishing sufficient evidence to name Defendants in this suit.

However, Plaintiff agrees that redaction of Sprint’s subpoena response, ECF No. 36, is

appropriate for information such as account numbers. Additionally, while Plaintiff does

not believe that the IP addresses cited in his filings are likely to still be assigned to

Defendants’ account due to their dynamic nature, Plaintiff agrees that it may be

appropriate to redact these filings in the future.

       However, other information, such as Defendants’ residential address or phone

numbers, cannot be so easily redacted at this time. As Defendants are pro se, they are

required to provide an address, phone number, and email address on each of their filings.

See Fed. R. Civ. P. 11(a). Here, Defendants have provided their residential address as

their address for contact and service, as indicated by the Court’s docket. Similarly, the

phone number listed in Plaintiff’s filings is the phone number which Defendants have used

to contact Plaintiff. Therefore, until Defendants retain counsel, Plaintiff does not believe



                                              2
that redaction of this information is appropriate. Once Defendants retain counsel, Plaintiff

agrees that further redaction may be appropriate.


                                                                   Respectfully Submitted,
                                                                      /S Matthew W Buck
                                                                                RED LAW
                                                                  445 Broadway Suite 126
                                                                       Denver, CO 80203
                                                                            720-771-4511
                                                                            matt@red.law

                              CERTIFICATE OF SERVICE

       I, Matthew W. Buck, hereby certify that on January 7, 2019, I served a copy of the

foregoing on the defendants via e-mail, and with the court via the court’s ECF system.

                                                                       /S Matthew W Buck




                                             3
